                     Case 18-22930-LMI           Doc 35     Filed 12/12/18    Page 1 of 2




      ORDERED in the Southern District of Florida on December 11, 2018.




                                                      Laurel M. Isicoff
                                                      Chief United States Bankruptcy Judge




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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

      IN RE:                                                CASE NO.: 18-22930-LMI

      MARIELA C ROMAN,                                      Chapter 7

                                                 Debtor./

               ORDER GRANTING TRUSTEE’S AGREED EX PARTE MOTION FOR
                EXTENSION OF TIME TO OBJECT TO DEBTOR’S DISCHARGE

             THIS CAUSE came before the Court upon the “Trustee’s Agreed Ex Parte Motion for

      Extension of Time to Object to Debtor's Discharge” (the “Motion”). The Court having reviewed

      the Motion, having noted the agreement of the Parties, and based on the record finds good cause

      to grant the Motion. Accordingly, it is:

             ORDERED as follows:

             1.      The Motion is GRANTED.

             2.      The Trustee and the Office of the United States Trustee shall have up through and

      including March 28, 2019 in which to file an objection to the Debtor’s discharge.
                Case 18-22930-LMI         Doc 35     Filed 12/12/18   Page 2 of 2



       3.      This Order is without prejudice to further requests for extension upon good cause

being shown by the Trustee or the Office of the United States Trustee.

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Respectfully Submitted by:

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The Trustee shall serve a copy of this Order
upon all interested parties and file a Certificate of Service
